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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


CHIN HUANG, individually and on behalf of        Case No. 1:19-cv-06396-JPO
all others similarly situated,

               Plaintiff,
       vs.

CANNTRUST HOLDINGS, INC., PETER
ACETO and GREG GUYATT,

               Defendants.


GUSTAVO ALVARADO, on behalf of                   Case No. 1:19-cv-06438-JPO
himself and all others similarly situated,

               Plaintiff,
       vs.

CANNTRUST HOLDINGS, INC., PETER
ACETO, GREG GUYATT, and IAN
ABRAMOWITZ,

               Defendants.


RONALD E. JONES, individually and on             Case No. 1:19-cv-06883-JPO
behalf of all others similarly situated,

               Plaintiff,
       vs.

CANNTRUST HOLDINGS, INC., PETER
ACETO and GREG GUYATT,

               Defendants.



SCOTT JUSTISS, individually and on behalf        Case No. 1:19-cv-7164-JPO
of all others similarly situated,

               Plaintiff,


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           vs.

 CANNTRUST HOLDINGS, INC., PETER
 ACETO and GREG GUYATT,

                    Defendants.



JOINT DECLARATION OF ERIC GLASSON, MIKE HOPSON, JOSHUA SMITH, AND
             RAY BRUBAKER IN SUPPORT OF MOTION FOR
        APPOINTMENT AS LEAD PLAINTIFFS, APPROVAL OF THEIR
 SELECTION OF LEAD COUNSEL, AND CONSOLIDATION OF RELATED ACTION

          We, Eric Glasson, Mike Hopson, Joshua Smith, and Ray Brubaker, declare as follows

pursuant to 28 U.S.C. § 1746:

          1.       We respectfully submit this Joint Declaration in support of our motion for

appointment as Lead Plaintiff in the above-captioned litigation on behalf of investors in

CannTrust Holdings Inc. (“CannTrust”) under the Private Securities Litigation Reform Act of

1995 (“PSLRA”). We each have personal knowledge of the information in this Joint Declaration

to the extent it relates to all of us and to each of us, respectively, as an individual, and each of us

could and would testify competently to the facts stated below.

          2.       Each of us purchased a significant amount of CannTrust shares, as shown in

Exhibit A to the accompanying Declaration of Dena C. Sharp. To the best of our knowledge,

that Exhibit lists all of our respective transactions in CannTrust securities during the Class

period.

          3.       Each of us is highly motivated to recover the significant losses we suffered as a

result of Defendants’ violations of the federal securities laws. We therefore agree that this case

should be prosecuted by investors with a financial interest substantial enough to ensure that the

case is litigated vigorously, efficiently, and in the best interests of the Class.




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       4.       For these reasons, among others, we have determined that we can best protect the

Class and advance its interests by seeking joint appointment as Lead Plaintiff. We are thus

willing and able to serve as representative parties on behalf of a Class of investors who

purchased or acquired CannTrust securities during the Class period, including by providing

testimony at deposition and trial, if necessary. We understand that the Court has the authority to

select the most adequate lead plaintiff in this action.

       5.       After reviewing the allegations pleaded in the various complaints and consulting

with our counsel, Girard Sharp LLP and Gibbs Law Group LLP, we approved the filing of a joint

motion seeking our appointment as Lead Plaintiff.

       6.       We chose Girard Sharp LLP and Gibbs Law LLP to represent us in this matter

because of their fine reputation and track record in complex class action litigation, including

litigation involving securities fraud. Each of us has consulted extensively with these counsel

about the merits of our claims against these Defendants and our losses.

       7.       Before the lead plaintiff motion was filed, we all participated in a joint conference

call to discuss the merits of the CannTrust action, as well as our common goals in the litigation.

Those goals include litigating this case in an efficient and responsible manner, maximizing the

recovery for our fellow defrauded CannTrust investors, and ensuring that the Class will benefit

from our active involvement and supervision of Class counsel and the litigation. Following the

call, we all approved the filing of a joint motion for appointment as Lead Plaintiff.

       8.       During our conference call, we also agreed to communicate from time to time,

including outside the presence of our counsel, to discuss the progress and status of the litigation

and make any necessary strategic decisions. We are committed to working as a group to advance

these claims for the benefit of the Class.




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       9.             We understand and appreciate Lead Plaintiff’s obligation under the PSLRA to

select Lead Counsel and to monitor the action to ensure it is prosecuted efficiently and

effectively. We have already discharged this responsibility by selecting and retaining Lead

Counsel with a proven history of handling this type of complex litigation and bringing it to a

favorable result.

       10.            We have directed Girard Sharp LLP and Gibbs Law Group LLP to prosecute this

action in a cost-effective manner and to pursue the best possible result for the Class. We will

continue to supervise counsel and actively oversee the prosecution of the action for the benefit of

the Class by, among other things, reviewing pleadings, instructing counsel, and attending

hearings as necessary.

       11.            True and correct copies of our PSLRA certifications are attached as Exhibit B to

the Sharp Declaration.


       We hereby declare under penalty of perjury under the laws of the United States that the

foregoing is true, accurate and complete to the best of our knowledge.

       Executed on September 9, 2019.




        Eric Glasson (Sep 9, 2019)                             Mike Hopson (Sep 9, 2019)

       Eric Glasson                                            Mike Hopson




       Joshua E Smith (Sep 9, 2019)
                                                               Ray Brubaker
                                                               Ray Brubaker (Sep 9, 2019)

       Joshua Smith                                            Ray Brubaker




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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 9, 2019, a true and correct copy of the foregoing

document was served by CM/ECF to the parties registered to the Court’s CM/ECF system.


                                            /s/ Jessica J. Sleater




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